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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO



 Criminal Case No. 17-cr-00168-CMA-1

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 KAREN LYNN McCLAFLIN,
     Defendants.

 _____________________________________________________________________

                           NOTICE OF APPEAL
 _____________________________________________________________________

       Notice is hereby given that Karen Lynn McClaflin, defendant in the above captioned

 case, appeals to the Tenth Circuit Court of Appeals from the Order Denying Motion For

 Compassionate Release entered on July 20, 2020 as Docket No. 129.

 DATED: July 24, 2020.             Respectfully submitted,


                                   NATHAN D. CHAMBERS LLC
                                   By:    s/Nathan D. Chambers
                                   Nathan D. Chambers
                                   303 16th Street, Suite 200
                                   Denver, Colorado 80202
                                   (303) 825-2222




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 24, 2020, I presented the foregoing to the Clerk of the
 Court for filing and uploading to the CM/ECF system which will send notification of such filing
 to counsel of record.



                                            By:    s/Nathan D. Chambers
                                            Nathan D. Chambers
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                                            Denver, Colorado 80202
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